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 Sabera Akhter
 7510 Chancellor Way
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 August 17, 2015


 Your Honor,


 I write this letter to attest to the environment that my
 brothers, Muneeb and Sohaib Akhter, indicted for charges
 involving wire fraud and hacking, have been brought up in.
 My mother has always taught us to be respectful of others. My
 father has a strong work ethic and has worked for decades to
 provide for our family and pay for our education. Both of my
 parents sacrificed much of their time and comfort so that we may
 live without struggle. We were raised in a religious and moral
 household. We were taught that stealing is wrong and that harming
 other people in any way is wrong. We were not brought up to be
 nationalistic, neither were we brought up to be anti-American or
 to act against the law.
 Throughout my life I have noticed that Muneeb and Sohaib err as a
 result of their poor decisions. This is evident in the people
 they decide to trust, whether it be their faulty relationships or
 who they considered as friends. Both of them have dated clingy
 and manipulative girls who have constantly used them and lied to
 them although family members and friends warned them against
 those girls. One of the main co-conspirators in this case was
 also someone they considered a friend, and they were also warned
 against him.
 Your Honor, my brothers, my sister, and myself were all bullied
 in our childhood, and that affected us in different ways. My
 brothers developed a need to prove their worth at every given
 opportunity, and I see that need as the reason behind Muneeb’s
 boasting to his coworkers at the beginning of this whole case, as
 you may have come to know. I don’t believe any criminal would
 openly state such a thing out of fear of the consequences.
 Your Honor, whenever Muneeb and Sohaib return to their family,
 they will return to an environment that will reprimand them for
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 what they did wrong and encourage them to never commit such acts
 again, not one that will be unsupportive of their growth and
 indifferent towards their activity.


 Thank you for your consideration.


 Sabera A
